 

AQ 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture

UNITED STATES DISTRICT COURT

for the

Eastern District of Tennessee

In the Matter of the Seizure of
(Briefly describe the property to be seized)
Funds up to the amount of $397,000.00 in account number

1000184878758 at SunTrust Bank, account name Fatima
Sadruddin

Case No, 1:19-Mi- 2 |

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WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests that certain property
located in the Eastern District of Tennessee be seized as being

subject to forfeiture to the United States of America, The property is described as follows:
Funds up to the amount of $397,000.00 in account number 1000184878758 at SunTrust Bank, account name Fatima Sadruddin

 

THE ABOVE-REFERENCED FINANCIAL INSTITUTION IS HEREBY COMMANDED to effect the seizure of the contents of the
above-referenced account and to refuse the withdrawal of any amount from the account by anyone other than duly authorized law
enforcement agents, and promptly provide officers or contractors of the Federal Bureau of Investigation with the current account

balance.

I find that the affidavit(s) and any recorded testimony establish probable cause to seize the property.

. . “A. / po rom i jug
YOU ARE COMMANDED to execute this warrant and seize the property on or before apf flo | if
(not te exceed 14 days)

& inthe daytime 6:00 a.m. to 10:00 p.m. ‘J at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must also give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the

property was taken.

An officer present during the execution of the warrant must prepare, as required by law, an inventory of any property seized
and the officer executing the warrant must promptly return this warrant and a copy of the inventory to

Susan K, Lee, United States Magistrate Judge
(United States Magistrate Judge)

(3 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

C) for days (not to exceed 30) (9 until, the facts justifying, the later specific dateof __:

f /.
: Fe : Df. ELL AO
Date and time issued: am ZL ee L, LLL: *
i f

 

 

 

 

Printed name and title

City and state: | Chattanooga, Tennessee Susan K. Lee, United States Magistrate Judge

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Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
4:19-Mu- 4 \ 2 2] e Goa an Culp Pov: nd Gee ot (orp in
Inventory made in the VT of: ‘be Sasi wu Wt ku v _)

 

Inventory of the property taken:
$ 124 069. 4% pecencd on s/#[d01¢ £79 SunTrust Bank
pepresentny fds in @écont num bev
[200184 75 75%. See attahed Lote aud
copy ot Cashiers chek,

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned y a the original warrant to the

designated judge.
pac 3/4/2014 Kaden

Executing afficer’s signature

David Vara Spree Age Fer

Printed namd and title

 

 

 

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SunTrust Bank

Garnishment and Levy Processing
WE. MC. FL-ORLANDO-7136
— PO Box 620577
SUNTRUST Orlando. FL 32862-0877
2/28/2019
Case No.

318A-KX-2944908
SunTrust Levy Number
357362

F.B.L.

ATTN: SPECIAL AGENT DAVID KUKURA
633 CHESTNUT STREET, SUITE 540
CHATTANOOGA, TN 37450

UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRIC OF TENNESSEE

VS
FATIMA SADRUDDIN

FUNDS HELD

Dear Sir or Madam:

SunTrust Bank hereby submits an answer in response to the Order in the above-referenced matter:

 

 

 

 

 

 

 

Account Amount
1000193109351 $808.70
4000225674083 $1,003.01
1000184878758 $129,080.98
Total $130,892.69

 

 

 

As per the Court Order, SunTrust Bank will continue to hold the account(s) listed above until further
orders of the Court are received by the bank instructing SunTrust as to the disposition of the funds held.

If you have any questions regarding this matter, please contact our office at 1-877-220-9402.

Sincerely,
| Betancourt
Garnishment and Levy Processing

Please direct additional inquiries to:
SunTrust Bank

Garnishment and Levy Processing
MC: FL-ORLANDO-7136

P.O. BOX 620577

ORLANDO FL 32862-0577

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we

 

UNITED STATES MARSHAL'S SERVICE

  

“MZ SunTrust

Garnishr ent and Levy Processing

 

FFICIAL CHECK

NO. 3231945432
REMITTER: SunTrust Banks, Inc. :
FL- ORLANDO-7136 DATE: 2/28/2019

PROCESSOR: | Betanccurt
Your Ref: 218A-K>.-2944908
Our Ref: 357362
FATIMA SADRUDDIN

Vold if aver $230,892.69

  

 

One Hundred Thirty Thousand Eight Hundred Ninety Two Dollars and Sixty Nine Cents $130,892.69
PAY TOTHE UNITED STATES MARSHAL'S SERVICE Sunteast Boney s Authorized Agent
ORDER OF
Payable at SunTrust Bank : om . foe Ao See we eee ene

W323 b9R 5G 3 ou 06 8 b00 7908 70490 8999Ene

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